  t
                  Case 1:14-mc-00008-KD-MU Document 1 Filed 03/27/14 Page 1 of 5
                                                                                                                    .* 3orE3
AO45l (Rev.0l/09) Clerk'sCertificationofaJudgmenttobeRegisteredinAnotherDistricr                               fsr<- \+^! - *U-s,\
                                      UNnpo Srarps Drsrrucr CoURT
                                                                  for the



                                                                      )
                          Plaintiff                                   )
                             v.                                       )            Civil Action No. 3:12-cv-231-JJB-SCR
          Unlfied Reqov_e4r_.Q1qu!r ILC q! ql                         )
                         Defendant                                    )


       CLERK'S CERTIFICATION OF A JUDGMENT TO BB REGISTERED IN ANOTHER DISTRICT


         I certify that the attached judgment is a copy of a judgment entered by this courl on           @arc)        OglZ7l2O13

         I also certifu that, as appears from this coufi's records, no motion listed in Fed, R. App. P. a(a)(aXA) is pending
before this court and that no appeal has been filed or, if one was filed, that it is no longer pending,



Date:          0311912014
                                                                                   CLERKOFCOURT


                                                                                      Jrr",r.R' c-(!'i
                                                                                            Signature /Ctert< or Deputv Clerk
     Case 1:14-mc-00008-KD-MU Document 1 Filed 03/27/14 Page 2 of 5




                              UNITED STATDS DISTRICT COURT

                              MIDDLE DISTRICT OF LOUISIANA


SE PROPERTY HOLDINGS, LLC,

                 Plaintiff.                                 CIVIL ACTION No.      3: I   2-CV-0023    I


           v,

UNIFIED RECOVERY GROUP, LLC,
IED, LLC, INTERNATIONAL
EQUIPMENT DISTRIBUTORS, INC.,                              JUDGE JAMES J. BRADY
CREEN AND SONS II, LLC,
                                                )
CATAHOULA TRADING COMPANY,
                                                )
LLC, MEMORY C. GREEN, CECILE G.
                                                )
GREEN, JEFF S. GREEN, AND J.S,
                                                )
LAWRENCE GREEN                                             MAGISTRATE JUDCE STEPHEN
                                                )
                                                           C. RIEDLINGER
                Defendants




                    gI,M|I, JUpGMENT rN CIVIL ACTION NO. 12-231-JJB

       On April 3,2013 this Coufi glanted sumrnary judgment in favol of plaintiffi SE Property

Holdings, LLC C'SEPH") artd against all of the defendants for written reasons assigned,

Therefore, a final judgment in fuvor of SEPH and against alI defendants is hereby rendered            as


follows:

       1.       A   tnoney judgment is hereby renderrd    in favor of SEPH and against Unified
                Recovery Croup, LLC (.'URC"), IED, LLC         ("lED"), International      Equiprnent

                Distributors, Inc. ("lnternational Equipment"), Green and Sons II, LLC ("G&S

                II"), Catahoula Trading   Company, LLC ('CTC"), Menrory C. Green, Cecile G,

                Creeno Jeff S. Green and J.S, Lawrence Creerr, each being liable on a joint and

                several solidarily basis to SEPI-I, in the principal arnount of $23,626,922.31 with

                intetrst accrued through November 5,2012 of $2,784,717.10 and with interest


                                                                                                   PXHIBIT A

       Ca:s* 3,'13-*-A*7-31-3J*"frt'.ft.      ****ts'wnr.*i) *tll?-7!j.3     {3*rs*   1. rst   4
       Case 1:14-mc-00008-KD-MU Document 1 Filed 03/27/14 Page 3 of 5                                    I




                accruing on a daily basis at the rate   of    8% p€r annum on $16,666.85 of said

               judgrnent arnount and at the per anlluln rate of lSYo per annum on the balance       of

                such jLrdgment anourlt until paid, together      with court costs and    reasonable

                attorneys' f'ees.

          a
                Judgment is hereby further rendered recognizing artd maintaining the following      as


                security for the judgment hereby rendet'ed:

                A,      A Security Agreement by URG dated August29,2008 evidenced, without

                        lirnitation, by Louisiana UCC financing staternent filings UCC Number

                        XX-XXXXXXX, UCC Nunrber XX-XXXXXXX, and UCC Nurnber XX-XXXXXXX.

                B.      A Security Agreement by IED dated August29,2008 evidenced, without

                        limitatiott, by Louisiana UCC financing statetnent filings UCC Nurnber

                        XX-XXXXXXX and UCC Number 17"1366254.

               C,       A Multipurpose Note and Security Agreement by International Equipment

                        dated July 11, 2010 evidenced, without linritation, by UCC financing

                        staternent filings with the Secretary of State of Alabarna as UCC Ntttnber

                        XX-XXXXXXX and UCC Number ll-0302252, it being recognized that,

                        without limitation, such Security Agreement and financing statements

                        effect and perfect a security interest in the accounts receivable owed by

                        Livingston Parish to International Equipment, including as reflected in the

                        ploceeding styled "lntet'national Equipment Distlibutors, Inc. vs' The

                        Livingston Palish Governnrent, by ar:d through the Parish Council, Suit

                       No, 132,204, Div. A, 21't Judicial Court, Livingston Parish, State of

                       Louisiana".




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       Case 1:14-mc-00008-KD-MU Document 1 Filed 03/27/14 Page 4 of 5




                 D.     Multiple indebtedness mortgage itt favor of SEPI-I by CTC dated October

                        1B, 201   I   atrd recorded with the Clerk of Court of Terrebonne Parish'

                       Louisiana on october 24,201I as File Number 1384717 in Book 2448 at

                       Page239.

                        Multiple indebtedness mortgage in favor of SEPH by J, S' Lawrence

                       Green and Melnory C. Greerr, dated October I8, 201        I   and recorded with

                       the Clerk of Courrt and Recorder of Moltgages of East Baton Rottge

                       Parish, Louisianaon October 19,2011 at Original725, Bundle 12362,

                F.     Multiple indebtedness mortgage in favor of SEPI'I by Jeff S. Green and

                       Cecile G. Green, dated October 18, 201 1 and recorded with Clerk of Courl

                       of Washington Parish, Louisiana on October 25,2011            as   File Number

                       2AI-AA4949 at Book 933, Page 33.

                c.     A ptedge and secut'ity agreelnent in favor of SEPH by IED and dated

                       Angust 29,2008.

                H.     An Assignnrent of Life Insurarroe Policy as Collateraldated October             18,


                       201 1 in favor     of SEPH by J. S. Lawrence Green concerning Policy No'

                       MMM0288849 of Arnerican General.

                I.     An Assignrnent of Life Insurance Policy as Collateral dated October             18,


                       2011 in favor of SEPH by Jeff s, creen concelnirrg Policy No. 06043095

                       of TIAA-CREF.




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     Case 1:14-mc-00008-KD-MU Document 1 Filed 03/27/14 Page 5 of 5




                 J.       Such ottrer secut'ity foL the judgment hereby rendered as exists.

                                                                                    whereby
         a
                 SEPFI and att defendamts have entered into a forbearance agreement

                                                                                  and exercising its
                 SEPI-I has agreed to forbeal foreclosing upon the loans at issue

                                                                                       length of tirne'
                 rights pursuant to the security intefests granted to it foL a certain

                 Therefore, during the time that the forbearance agl'eement is           in effect, the
                                                                                              or
                 defendants are enjoined from transfeffing, selling, assigning, enculnbel'ing

                                                                                   other
                 alienating any assets of uRG, IED, International Equipment or any
                                                                                                        assets


                                                                                  interest in SEPH's
                 subject to seizure prtrsuant to this judglnent arld any security

                 favor.

                 SICNED in Baton




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t D.852t622.4



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